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                              EXHIBIT 12
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                                                                   Richard E. Lerner
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    June 5, 2023
    Podhurst Orseck, P.A.
    One S.E. 3rd Ave., Suite 2300
    Miami, Florida 33131
    Attn: Stephen Rosenthal
          Christina Martinez

               Re:      Jiangmen Benlida Printed Circuit Co., Ltd. v. Circuitronix, LLC
                        S.D. Florida Docket No. 21-60125 (Scola / Goodman)

    Dear Stephen and Christina:
            This will respond to your follow-up request for further discovery, and also address certain
    deficiencies in your own production. We first address your requests:
       1. All versions of Benlida’s database of aging debts of accounts receivable for CTX since
          2012 (responsive to 1st RFPs No. 11).
           Answer: Benlida sent monthly statements of Circuitronix’s A/R via emails every month,
           which indicated Benlida’s record of aging debts on CTX. Other than such emails, which
           have previously been disclosed, there is no other specific document concerning aging
           debts of accounts receivable for CTX.
       2. Any prior versions or snapshots, stored or shared in any format or location including but
          not limited to WeChat, from 2012 of the Excel spreadsheet marked as Exhibit 83 (which
          you served on Thursday morning before Ms. Chen’s deposition, which Ms. Chen testified
          was entitled “CCT Payment Details” and which she updated in 2020) (also responsive to
          1st RFPs No. 11 above).
           Answer: There are no prior versions or snapshots. The spreadsheet was updated on a
           rolling basis and thereby updated. At about the time that CTX began making
           prepayments, it was no longer necessary to update the spreadsheet, and it was frozen.
       3. Metadata of Exhibit 83.
           Answer: The document is maintained in a folder, as follows:




                     1350 Avenue of The Americas, Second Floor, New York, New York 10019
                       2121 Avenue of The Stars, Suite 800, Los Angeles, California 90067
                                         www.mazzolalindstrom.com
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          The metada for Exhibit 83 is as follows:




       4. All communications between BLD and the Chinese Tax Authority concerning the subject
          of BLD obtaining from Circuitronix, LLC an agreement or pledge or authorization for the
          payment of debts of CTX HK, both prior to the 2014 Business Authorization and
          afterwards through 2018 (responsive to 2nd RFPs No. 4 and/or 1st RFPs No. 13).
          Answer: See screenshot of Chinese Tax Authority portal. Communications through the
          portal are not retrievable by Benlida, which has no written communications that are
          responsive to this request.




          You had also requested communications with the Chinese customs bureau. Likewise,
          Benlida has no written communications with Chinese customs bureau, and documents


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          submitted by Benlida to the customs bureau are not retrievable through the portal. (See
          screenshot).




       5. All versions or snapshots, stored or shared in any format or location including but not
          limited to WeChat, of the file for Circuitronix, LLC accounts receivable from the Jindie
          software platform (also responsive to 1st RFPs No. 11 above).
          Answer: There are no historical “versions” or “snapshots” of data in the Jindie system,
          save for what has been extracted from time to time and transferred to Excel spreadsheets
          and emails. It is a live database that is continuously updated, and data is extracted from it
          as needed.
       6. All versions or snapshots, stored or shared in any format or location including but not
          limited to WeChat, of the file for Circuitronix (Hong Kong) Ltd. accounts receivable
          from the Jindie software platform (also responsive to 1st RFPs No. 11 above).
          Answer: There are no historical “versions” or “snapshots” of data in the Jindie system,
          save for what has been extracted from time to time and transferred to Excel spreadsheets
          and email. It is a live database that is continuously updated, and data is extracted from it
          as needed.
       7. Any communications between BLD and the Hua Nan firm prior to March 17, 2019
          (referenced in Exhibit 107 and which Tracy Huang identified during her deposition)
          relating to Circuitronix, LLC and Circuitronix (Hong Kong), including but not limited to
          the firm’s work product in connection with the parties’ 2019 reconciliation effort
          (responsive to 1st RFPs No. 13 above).
          Answer: There were no written communications, but only face to face meetings at
          Benlida’s premises.

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          8. Any communications between BLD and Jiangmen Bei Dou Certified Public Accountants
             Co. Ltd. relating to Circuitronix, LLC and Circuitronix (Hong Kong), including but not
             limited to the firm’s work product in connection with the parties’ 2019 reconciliation
             effort (responsive to 1st RFPs No. 13 above).
             Answer: There were no written communications, as Bei Dou reviewed the records at
             Benlida’s premises.
          9. Spreadsheets and any other attachments attached to the claim forms submitted to
             Sinosure.
             Answer: Other than the email exchanges previously disclosed, Benlida has no further
             documents, as it did not save hard copies of the documents provided to Sinosure.
                                                    ***
            At Rishi Kukreja’s deposition on June 1st, Mr. Kukreja testified that Benlida badmouthed
    Circuitronix to Chinese suppliers and to Circuitronix customers. He further testified that he had
    documentation of same. We memorialized our demand for copies of such documents, which are
    clearly within the scope of our requests for production of April 20, 2022, which request:
             7. All Documents that CTX is relying upon to assert in paragraph 28 of the
                Counterclaim that, “Benlida further agreed that it ‘shall subordinate and refrain from
                acting on any of its desires that may adversely affect CTX USA’s interests.’”
             10. All Documents and communications that CTX relied upon to support the allegations
                 in paragraph 40(e) of the Counterclaim that Benlida, “communicat[ed] and
                 correspond[ed] with other PCB suppliers and manufacturers in China in a coordinated
                 effort to get multiple PCB suppliers to gang up on CTX and demand higher prices
                 and other commercial concessions in violation of its fiduciary duties of good faith,
                 fair dealing, and loyalty.”
           Additionally, Circuitronix has failed to disclose any back-up for its counterclaim as to
    damages allegedly caused by Benlida. Please provide all documentation of airfreight bills, line-
    down penalties, and/or loss of business sustained by Circuitronix (US and HK) that results from
    any breach by Benlida, which documents would be clearly within the scope of demand number
    14, which demanded:
             14. All Documents relating to CTX’s allegation in paragraph 45 of Defendant’s
                 Counterclaim that, “Benlida’s breaches have caused damage to CTX . . .”
            Finally, Mr. Kukreja testified that Circuitronix prepared “intermediary reconciliations.” If
    Circuitronix ever provided what it considers to be a “final” reconciliations for CTX-US and
    CTX-HK, please provide them immediately, or confirm that no such final reconciliation(s) exist.

                                                  Very truly yours,
                                                  MAZZOLA LINDSTROM LLP

                                                  Richard E. Lerner
    cc:      Chauncey Cole
             JC Mazzola
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